Case 4:21-cr-10008-JEM Document 23 Entered on FLSD Docket 08/25/2021 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
~ CASE NO. 21-10008-CR-MARTINEZ
UNITED STATES OF AMERICA

VS.

MYKHAYLO CHUGAL, et al.

ORDER

THIS CAUSE is before the Court on the Defendant, MYKHAYLO
CHUGAL’s Motion for Hearing With Personal Presence of Defendant and Attorney In
Courtroom and Attorney in Courtroom and Rescheduling if Necessary (ECF No. 22).
The Defendant’s pretrial detention hearing commenced on August 23, 2021 via video
conference, with the Defendant’s consent, as authorized by Administrative Order 2021-
51 under the Cares Act. At the request of counsel for the Defendant, the hearing is
scheduled to resume on August 30, 2021 for presentation of evidence by the Defendant.
Counsel for the Defendant now requests that he be permitted to be present with his
client for a live hearing in the courtroom.

Administrative Order 2021-51, which expires on September 1, 2021, recognizes
that emergency conditions due to the COVID-19 virus outbreak continue to materially
affect the functioning of the Courts within this District. Since the Order was entered,
the severity of the outbreak has worsened dramatically and it is likely that a similar

Order will be entered extending the period in which emergency measures may be
Case 4:21-cr-10008-JEM Document 23 Entered on FLSD Docket 08/25/2021 Page 2 of 3

implemented in order to keep attorneys, litigants and Court personnel safe.
Throughout the pandemic, in instances where a defendant has not consented to
proceeding by video conference, the hearing in question has been continued until after
the expiration of the applicable Administrative Order.

Under current circumstances, the undersigned will not require any participant
in the hearing scheduled for August 30, 2021 to personally appear in the courtroom,
and the undersigned declines to do so. However, counsel for the Defendant may be
present with his client in the room designated for defendants in the Key West
courthouse, provided that masks are worn by the Defendant and his attorney and
social distancing from court personnel is maintained. If the Defendant does not
consent to a hearing by video conference under these conditions, he may elect to have
the Court rule on pretrial detention based on the evidence presented on August 23,
2021, or continue the hearing until the Chief Judge of this District finds that

emergency conditions no longer apply. Accordingly, it is hereby

ORDERED and ADJUDGED that Defendant, MYKHAYLO CUGAL/’s Motion for
Hearing With Personal Presence of Defendant and Attorney In Courtroom and
Attorney in Courtroom and Rescheduling if Necessary (ECF No. 22) is GRANTED, in
part, in that counsel for the Defendant may be present with his client in the room
designated for defendants in the Key West courthouse, provided that masks are worn

by the Defendant and his attorney and social distancing from court personnel is
Case 4:21-cr-10008-JEM Document 23\ Entered on FLSD Docket 08/25/2021 Page 3 of 3

maintained. In all other respects the Motion is DENIED.

DONE and ORDERED at Key West, Florida this 25" day of August, 2021.

LURANA 8. SNOW
UNITED STATES MAGISTRATE JUDGE

 
 

 

Copies to:

All counsel of record
